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                                          United States Bankruptcy Court
                                                                   For The
                                                   District of Maryland/Northern Division
                                                                                                     Case No: 22-14559-NVA
 IN RE: JESSICA D JONES                                                                                Judge: Nancy V. Alquist
        7507 SLATE DRIVE                                                                                Date: 3/11/2023
        WINDSOR MILL, MD 21244

                                                    NOTICE OF FILED CLAIMS
NOTICE IS HEREBY GIVEN of claims filed, which will be paid in the amounts and manner set forth below, subject to provisions of the Plan
and other Court Orders and Rule 3010(b), Rules of Bankruptcy Procedure.
 Claim #                     Name and Address of Creditor                  Amount                                        Classification
   001      US DEPT OF HOUSING & URBAN DEVELOP / 100 PENN SQUARE EAST 11TH FLOOR                                             DirectPay
            PHILADELPHIA, PA 19104                                                                                           23,891.47
                                                          Acct: 9022
                                                     Comment: OUTSIDE PER PLAN
     002    US DEPT OF EDUCATION / CLAIMS FILING UNIT                                           99,524.88                    Unsecured
            PO BOX 8973 / MADISON, WI 53708
                                                                   Acct: 4827
                                                                Comment:
     003    MIDLAND CREDIT MANAGEMENT / PO BOX 2037                                                889.98                    Unsecured
            WARREN, MI 48090
                                                                   Acct: 4516
                                                                Comment:
     004    NAVY FEDERAL CREDIT UNION / ATTN: BANKRUPTCY MANAGEMENT                              1,802.00                    Unsecured
            PO BOX 3000 / MERRIFIELD, VA 22119-0000
                                                       Acct: 5698
                                                    Comment:
     005    NAVY FEDERAL CREDIT UNION / ATTN: BANKRUPTCY MANAGEMENT                             14,628.76                    Unsecured
            PO BOX 3000 / MERRIFIELD, VA 22119-0000
                                                       Acct: 7808
                                                    Comment:
     006    CITIBANK NA / PO BOX 280                                                             4,919.18                    Unsecured
            KIRKLAND, WA 98083-0280
                                                                   Acct: 1672
                                                                Comment:
     007    ASHLEY FUNDING SERVICES / C/O RESURGENT CAPITAL SVCS                                     52.66                   Unsecured
            PO BOX 10587 / GREENVILLE, SC 29603-0587
                                                      Acct: 2060
                                                   Comment:
     008    ASHLEY FUNDING SERVICES / C/O RESURGENT CAPITAL SVCS                                   174.46                    Unsecured
            PO BOX 10587 / GREENVILLE, SC 29603-0587
                                                      Acct: 3090
                                                   Comment:
     009    STONEGATE AT PATAPSCO SEC II / C/O MICHAEL S NEALL ESQ                                 993.94                Secured
            147 OLD SOLOMONS ISLAND RD #400 / ANNAPOLIS, MD 21401-0000                           6.0000% From 08/19/2022
                                                      Acct: 8084
                                                  Comment:
     009    STONEGATE AT PATAPSCO SEC II / C/O MICHAEL S NEALL ESQ                               1,745.93                    Unsecured
            147 OLD SOLOMONS ISLAND RD #400 / ANNAPOLIS, MD 21401-0000
                                                      Acct: 8084
                                                  Comment: Split Claim




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                                          United States Bankruptcy Court
                                                                   For The
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                                                                                                     Case No: 22-14559-NVA
 IN RE: JESSICA D JONES                                                                                Judge: Nancy V. Alquist
        7507 SLATE DRIVE                                                                                Date: 3/11/2023
        WINDSOR MILL, MD 21244

                                                    NOTICE OF FILED CLAIMS
NOTICE IS HEREBY GIVEN of claims filed, which will be paid in the amounts and manner set forth below, subject to provisions of the Plan
and other Court Orders and Rule 3010(b), Rules of Bankruptcy Procedure.
 Claim #                     Name and Address of Creditor                                     Amount                     Classification
   010      QUANTUM3 GROUP LLC / GENESIS FS CARD SERVICES INC                                    618.19                     Unsecured
            PO BOX 788 / KIRKLAND, WA 98083
                                                          Acct: 5494
                                                     Comment:
     011    ASHLEY FUNDING SERVICES / C/O RESURGENT CAPITAL SVCS                                   286.88                    Unsecured
            PO BOX 10587 / GREENVILLE, SC 29603-0587
                                                      Acct: 9260
                                                   Comment:
     012    PORTFOLIO RECOVERY ASSOCIATES LLC / SYNCHRONY BANK                                   2,404.37                    Unsecured
            PO BOX 41067 / NORFOLK, VA 23541
                                                    Acct: 4258
                                                Comment:
     013    PORTFOLIO RECOVERY ASSOCIATES LLC / BARCLAYS BANK                                      878.13                    Unsecured
            PO BOX 41067 / NORFOLK, VA 23541
                                                    Acct: 8246
                                                Comment:
     014    US BANK NA / 4801 FREDERICA STREET                                                                               DirectPay
            OWENSBORO, KY 42301                                                                                             230,951.32
                                                                   Acct: 8763
                                                                Comment:
     015    ALLY BANK / AIS PORTFOLIO SERVICES                                                                               DirectPay
            4515 N. SANTA FE AVENUE DEPT APS / OKLAHOMA CITY, OK 73118                                                       22,769.79
                                                     Acct: 4882
                                                 Comment: OUTSIDE PER PLAN
     016    PORTFOLIO RECOVERY ASSOCIATES / PO BOX 41067                                         1,366.06                    Unsecured
            NORFOLK, VA 23541
                                                    Acct: 6110
                                                Comment:
     017    MAYOR & CITY COUNCIL OF BALTIMORE / 200 HOLLIDAY ST - RM #1 BANKRUPTCY
                                                                              46.28                                          Unsecured
            BALTIMORE, MD 21202
                                                      Acct:
                                                  Comment:
     018    STONEGATE UTILITIES, LLC / 5305 VILLAGE CENTER DRIVE #305                                None                        Not Filed
            COLUMBIA, MD 21044                                                                                                         .00
                                                       Acct:
                                                    Comment:
     019    ACCEPTANCE NOW / 5501 HEADQUARTERS                                                       None                        Not Filed
            PLANO, TX 75024                                                                                                            .00
                                                                   Acct: 4445
                                                                Comment:




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41
                                                United States Bankruptcy Court
                                                                          For The
                                                          District of Maryland/Northern Division
                                                                                                                   Case No: 22-14559-NVA
  IN RE: JESSICA D JONES                                                                                             Judge: Nancy V. Alquist
         7507 SLATE DRIVE                                                                                             Date: 3/11/2023
         WINDSOR MILL, MD 21244

                                                    NOTICE OF FILED CLAIMS
NOTICE IS HEREBY GIVEN of claims filed, which will be paid in the amounts and manner set forth below, subject to provisions of the Plan
and other Court Orders and Rule 3010(b), Rules of Bankruptcy Procedure.
 Claim #                       Name and Address of Creditor                                                Amount                        Classification
   020        CAPITAL ONE / P O BOX 30285                                                                       None                          Not Filed
              SALT LAKE CITY, UT 84130-0285                                                                                                          .00
                                                                          Acct: 3031
                                                                       Comment:
     021      CHASE BANK USA NA / PO BOX 15298                                                                     None                         Not Filed
              WILMINGTON, DE 19850                                                                                                                    .00
                                                                          Acct: 2551
                                                                       Comment:
     022      CCA / PO BOX 329                                                                                     None                         Not Filed
              NORWELL, MA 02061-0329                                                                                                                  .00
                                                                          Acct: 9122
                                                                       Comment:
     023      MIDLAND CREDIT MANAGEMENT / 350 CAMINO DE LA REINA #100                                              None                         Not Filed
              SAN DIEGO, CA 92108                                                                                                                     .00
                                                      Acct: 3329
                                                  Comment:
     024      NAVY FEDERAL CREDIT UNION / ATTN: BANKRUPTCY MANAGEMENT                                              None                         Not Filed
              PO BOX 3000 / MERRIFIELD, VA 22119-0000                                                                                                 .00
                                                         Acct: 8948
                                                      Comment:
     025      US DEPT OF EDUCATION / PO BOX 7860                                                                   None                         Not Filed
              MADISON, WI 53707-7860                                                                                                                  .00
                                                                          Acct: 8581
                                                                       Comment:
                                                                                           Total            130,331.70
      ERIC STEINER ESQUIRE                                                                            4,350.00               Debtor's Attorney
      STEINER LAW GROUP LLC
      PO BOX 17598 / PMB 83805
      BALTIMORE, MD 21297
  Pursuant to 11 U.S.C. 502 (a), the filed claims are deemed allowed for purposes of distribution and shall be paid if provided for under the plan.
DEBTOR(S): IF YOU BELIEVE A CLAIM IS NOT CORRECT, YOU MUST FILE AN OBJECTION IN ACCORDANCE WITH BANKRUPTCY RULE 3007
AND LOCAL BANKRUPTCY RULE 3007-1.
                                                                                                                    /s/ Brian A. Tucci
                                                                                                                    Brian A. Tucci, Trustee
                                                                                                                    300 E. Joppa Road, Suite 409
                                                                                                                    Towson, MD 21286-3005


I hereby certify that on 03/11/2023 a copy of this Notice was served on the Debtor(s) by regular mail, postage prepaid. I further certify that a
copy of this notice was served on the attorney for the Debtor(s) electronically through the Court's ECF system on the date this Report was
uploaded for filing.

                                                                                                   /s/ Brian A. Tucci
                                                                                                   Brian A. Tucci, Trustee




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